          Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 1 of 12 FILED
                                                                           Page ID #:1
                                                                 CLERK, U.S. DISTRICT COURT


                                                                          10/19/2021

1                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                              DM
                                                                        BY: ___________________ DEPUTY

2

3

4

5

6

7

8                                 UNITED STATES DISTRICT COURT

9                           FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                      June 2021 Grand Jury

11   UNITED STATES OF AMERICA,                        CR 2:21-cr-00491-SB

12                 Plaintiff,                         I N D I C T M E N T

13                 v.                                 [18 U.S.C. § 1001(a)(1):
                                                      Falsifying and Concealing Material
14   JEFFREY FORTENBERRY,                             Facts; 18 U.S.C. § 1001(a)(2):
                                                      Making False Statements]
15                 Defendant.

16

17           The Grand Jury charges:
18                                   INTRODUCTORY ALLEGATIONS
19           At times relevant to this Indictment:
20   A.      THE FEDERAL ELECTION CAMPAIGN ACT INVESTIGATION
21           1.     The Federal Bureau of Investigation (“FBI”) and Internal
22   Revenue Service (“IRS”) in Los Angeles and the United States
23   Attorney’s Office for the Central District of California (“USAO”)
24   were conducting a federal criminal investigation into illegal
25   political campaign contributions made by Gilbert Chagoury, a foreign
26   national, using other individuals as conduits, to defendant JEFFREY
27   FORTENBERRY’s 2016 congressional campaign (the “Federal
28   Investigation”) and those of other federal candidates in the United
          Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 2 of 12 Page ID #:2



1    States.      The Federal Investigation also sought to uncover whether and

2    when any politicians were aware they had received illegal foreign

3    national or conduit contributions and whether any person sought to

4    impermissibly influence the recipient politician in exchange for the

5    contributions.

6    B.      RELEVANT PERSONS AND ENTITIES

7            2.    Defendant JEFFREY FORTENBERRY was the United States

8    Representative for Nebraska’s 1st congressional district, having

9    first been elected as a U.S. Representative in 2004.

10           3.    Gilbert Chagoury was a Nigerian-born, billionaire

11   businessperson of Lebanese descent.            As a foreign national, Chagoury

12   was prohibited from making donations and contributions directly or

13   indirectly in support of any candidate for federal elected office in

14   the United States.

15           4.    Toufic Baaklini was a United States-based businessman who

16   served as a consultant for Chagoury and assisted Chagoury with

17   financial dealings in the United States.

18           5.    Individual H resided in Los Angeles.         On February 20, 2016,

19   Individual H hosted a political fundraiser for defendant FORTENBERRY

20   in Los Angeles (the “2016 Fundraiser”).

21   C.      BACKGROUND ON FEDERAL ELECTION LAW

22           6.    Under federal law, each federal campaign had to report to

23   the Federal Election Commission (“FEC”) the name and address of any

24   individual providing a contribution of more than $50.              The reports

25   were supposed to provide transparency to the identity of donors to

26   federal candidates for office and the amount of those donations.

27           7.    To ensure that the donations were transparent and fell

28   within the campaign contribution limits, individuals were not allowed

                                                2
          Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 3 of 12 Page ID #:3



1    to make contributions to federal candidates for political office in

2    the names of other people, and federal candidates were not allowed to

3    knowingly accept such contributions.

4            8.    Foreign nationals were not allowed to make contributions to

5    federal candidates for political office, and federal candidates were

6    not allowed to knowingly accept such contributions.

7            9.    Defendant FORTENBERRY was familiar with the legal

8    prohibitions against foreign and conduit contributions.

9            10.   Defendant FORTENBERRY knew Chagoury was a foreign national.

10   D.      FOREIGN AND CONDUIT POLITICAL CONTRIBUTIONS FROM CHAGOURY TO

11           DEFENDANT FORTENBERRY

12           11.   In January 2016, Chagoury arranged for $30,000 of his money

13   to be contributed through other individuals to the re-election

14   campaign of defendant FORTENBERRY.             Baaklini provided $30,000 in cash

15   he received from Chagoury to Individual H at a restaurant in Los

16   Angeles, California in January 2016.            Individual H was to identify

17   multiple individuals who would contribute the funds to defendant

18   FORTENBERRY’s campaign.         After receiving the cash from Baaklini,

19   Individual H hosted the 2016 Fundraiser, which defendant FORTENBERRY

20   attended.      At the 2016 Fundraiser, Individual H and individuals

21   Individual H recruited and reimbursed, using Chagoury’s cash that

22   Individual H received from Baaklini, made campaign contributions

23   totaling $30,200 to defendant FORTENBERRY’s campaign fund.

24   E.      THE INVESTIGATION OF FOREIGN AND CONDUIT CONTRIBUTIONS RECEIVED

25           BY DEFENDANT FORTENBERRY FROM CHAGOURY

26           12.   As part of the Federal Investigation, the FBI, IRS, and

27   USAO sought to determine, among other things: (a) whether defendant

28   FORTENBERRY’s congressional campaign received illegal conduit

                                                3
       Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 4 of 12 Page ID #:4



1    contributions at the 2016 Fundraiser; (b) if and when defendant

2    FORTENBERRY knew about any conduit contributions to his campaign at

3    the 2016 Fundraiser; (c) whether defendant FORTENBERRY’S

4    congressional campaign had received illegal contributions indirectly

5    from Chagoury, a foreign national, at the 2016 Fundraiser; (d) if and

6    when defendant FORTENBERRY knew about any illegal foreign

7    contributions from his congressional campaign received indirectly

8    from Chagoury at the 2016 Fundraiser; and (e) if and when defendant

9    FORTENBERRY had any direct or indirect communication with Chagoury or

10   Baaklini about the contributions his campaign was to and did receive

11   at the 2016 Fundraiser.

12        13.   In September 2016, Individual H began cooperating with law

13   enforcement.    Individual H informed the FBI of the conduit

14   contributions Individual H and others made to defendant FORTENBERRY’s

15   campaign at the 2016 Fundraiser.

16        14.   On or about March 19, 2018, and again on or about April 9,

17   2018, defendant FORTENBERRY contacted Individual H to inquire about

18   hosting another fundraiser in 2018 in Los Angeles.           On or about June

19   4, 2018, Individual H called defendant FORTENBERRY to discuss

20   defendant FORTENBERRY’s requests for an additional fundraiser (the

21   “2018 Call”).    In the 2018 Call, Individual H told defendant

22   FORTENBERRY, on multiple occasions, that prior to the 2016

23   Fundraiser, Baaklini provided Individual H with “$30,000 cash” to

24   give to defendant FORTENBERRY’s campaign.

25        15.   In the 2018 Call, Individual H also told defendant

26   FORTENBERRY that:

27

28

                                             4
       Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 5 of 12 Page ID #:5



1               a.    Individual H distributed the $30,000 cash to other

2    individuals to contribute to defendant FORTENBERRY’s campaign at the

3    2016 Fundraiser; and

4               b.     The $30,000 cash Baaklini gave to Individual H

5    “probably did come from Gilbert Chagoury because he was so grateful

6    for your support [for] the cause.”

7         16.   Despite being told by Individual H about the illegal

8    donations, defendant FORTENBERRY did not file an amended report with

9    the FEC regarding the 2016 Fundraiser.        Defendant FORTENBERRY also

10   did not return or otherwise try to disgorge the contributions from

11   the 2016 Fundraiser after learning on the 2018 Call with Individual H

12   that they were illegal contributions.        Rather, it was not until after

13   the FBI and USAO interviewed him in July 2019 that defendant

14   FORTENBERRY disgorged the contributions.

15        17.   These Introductory Allegations are incorporated into each

16   count of this Indictment.

17

18

19

20

21

22

23

24

25

26

27

28

                                             5
          Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 6 of 12 Page ID #:6



1                                          COUNT ONE

2                                 [18 U.S.C. § 1001(a)(1)]

3    A.      SCHEME TO FALSIFY AND CONCEAL MATERIAL FACTS

4            18.   From on or about June 4, 2018, to in or about July 18,

5    2019, affecting the Federal Investigation in the Central District of

6    California, and within the jurisdiction of the executive branch of

7    the government of the United States, namely, the FBI, IRS, and USAO,

8    defendant JEFFREY FORTENBERRY knowingly and willfully falsified,

9    concealed, and covered up by trick, scheme, and device material

10   facts, namely that:

11                 a.    Defendant FORTENBERRY’s congressional campaign had

12   received illicit contributions at the 2016 Fundraiser;

13                 b.    Defendant FORTENBERRY had become aware that his

14   campaign received illicit contributions at the 2016 Fundraiser;

15                 c.    Baaklini had provided $30,000 cash to Individual H for

16   Individual H and Individual H’s associates to contribute to defendant

17   FORTENBERRY’s congressional campaign at the 2016 Fundraiser;

18                 d.    Defendant FORTENBERRY had become aware that Baaklini

19   had provided $30,000 cash to Individual H for Individual H and

20   Individual H’s associates to contribute to defendant FORTENBERRY’s

21   congressional campaign; and

22                 e.    Chagoury was the source of the $30,000 that Baaklini

23   provided to Individual H for Individual H and Individual H’s

24   associates to contribute to defendant FORTENBERRY’s congressional

25   campaign at the 2016 Fundraiser.

26   B.      OPERATION OF THE SCHEME

27           19.   Defendant FORTENBERRY carried out the trick, scheme, and

28   device, in substance, in the following manner:

                                                6
       Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 7 of 12 Page ID #:7



1                a.   During an interview on March 23, 2019, by the FBI and

2    IRS at his residence in Lincoln, Nebraska regarding the Federal

3    Investigation, defendant FORTENBERRY made the following false and

4    misleading statements after being advised it was a crime to lie to

5    the federal government:

6                     i.    To conceal the illicit conduit contributions and

7    his knowledge of them, defendant FORTENBERRY falsely stated that he

8    was not aware of Baaklini ever making any illegal contributions,

9    directing anyone to conduct illegal contributions, or providing money

10   to anyone else to conduct conduit contributions to a political

11   campaign.

12                    ii.   To conceal the illicit conduit contributions and

13   his knowledge of them, defendant FORTENBERRY falsely stated that the

14   individuals who contributed to the 2016 Fundraiser were all publicly

15   disclosed and that every campaign contribution that his campaign had

16   received was publicly disclosed.

17                    iii. To conceal the illicit foreign contributions from

18   Chagoury and his suspicions of them, defendant FORTENBERRY

19   misleadingly stated that he was unaware of any contributions made by

20   foreign nationals to his campaign.

21               b.   During an interview on July 18, 2019, by the FBI and

22   the USAO and with his counsel present, at his counsel’s office in

23   Washington, D.C., regarding the Federal Investigation (the “July 2019

24   Interview”), defendant FORTENBERRY made the following false and

25   misleading statements after being advised it was a crime to lie to

26   the federal government:

27                    i.    To cover up that Baaklini had provided $30,000

28   cash to Individual H to contribute to defendant FORTENBERRY’s

                                             7
       Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 8 of 12 Page ID #:8



1    congressional campaign at the 2016 Fundraiser and defendant

2    FORTENBERRY’s knowledge of Baaklini’s act, defendant FORTENBERRY

3    falsely stated that he had not been told by Individual H during the

4    2018 Call that Baaklini had given Individual H $30,000 cash to help

5    fund the 2016 Fundraiser.

6                     ii.   To cover up the illicit foreign and conduit

7    contributions made to defendant FORTENBERRY’s congressional campaign

8    at the 2016 Fundraiser, his knowledge of the illicit conduit

9    contributions, and the illicit foreign contributions, defendant

10   FORTENBERRY falsely stated that he was not aware of any illicit

11   donation made during the 2016 Fundraiser.

12                    iii. To cover up the illicit foreign and conduit

13   contributions made to defendant FORTENBERRY’s congressional campaign

14   at the 2016 Fundraiser, his knowledge of the illicit conduit

15   contributions, and his suspicion of the illicit foreign

16   contributions, defendant FORTENBERRY misleadingly stated he ended the

17   2018 Call with Individual H after Individual H made a “concerning

18   comment” during the call.      In fact, as defendant FORTENBERRY then

19   knew, after Individual H told him repeatedly and explicitly about

20   illegal conduit contributions and referenced an illegal foreign

21   national contribution, defendant FORTENBERRY continued to ask

22   Individual H to host another fundraiser for defendant FORTENBERRY’s

23   campaign.

24                    iv.   To conceal his knowledge of the illicit conduit

25   contributions to his congressional campaign at the 2016 Fundraiser

26   and that Baaklini provided $30,000 to Individual H for Individual H

27   and Individual H’s associates to contribute at the 2016 Fundraiser,

28   defendant FORTENBERRY misleadingly stated that he would have been

                                             8
       Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 9 of 12 Page ID #:9



1    “horrified” if he had learned from Individual H during the 2018 Call

2    that Baaklini had provided Individual H money to contribute to the

3    2016 Fundraiser.    In fact, as defendant FORTENBERRY then knew, rather

4    than acting horrified after Individual H told him repeatedly and

5    explicitly about illegal conduit contributions and Baaklini providing

6    $30,000 to Individual H and Individual H’s associates to contribute

7    at the 2016 Fundraiser, defendant FORTENBERRY continued to ask

8    Individual H to host another fundraiser for defendant FORTENBERRY’s

9    campaign.

10               c.   To conceal the illegal conduit contributions, his

11   knowledge of them, the illegal foreign contributions by Chagoury, and

12   his suspicions of them, at no time did defendant FORTENBERRY cause

13   his campaign to file amended FEC reports with accurate information

14   about the 2016 Fundraiser, including the true contributors and the

15   amounts of their contributions.

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             9
      Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 10 of 12 Page ID #:10



1                                       COUNT TWO

2                              [18 U.S.C. § 1001(a)(2)]

3         20.   On or about March 23, 2019, in an interview affecting the

4    Federal Investigation in the Central District of California, and in a

5    matter within the jurisdiction of the executive branch of the

6    government of the United States, namely, the FBI, IRS, and USAO,

7    defendant JEFFREY FORTENBERRY knowingly and willfully made materially

8    false statements and representations to the FBI and IRS knowing that

9    these statements and representations were untrue:

10              a.    Defendant FORTENBERRY falsely stated that he was not

11   aware of Baaklini making any illegal contributions, directing anyone

12   to conduct illegal contributions, or providing money to anyone else

13   to conduct conduit campaign contributions.         In fact, as defendant

14   FORTENBERRY then knew, as of no later than the June 2018 call with

15   Individual H, he was aware that Baaklini provided money to

16   Individual H in order to make illegal conduit contributions at the

17   2016 Fundraiser.

18              b.    Defendant FORTENBERRY falsely stated that the

19   individuals who contributed to the 2016 Fundraiser were all publicly

20   disclosed.   In fact, as defendant FORTENBERRY then knew, his campaign

21   had never disclosed the names of individuals who were the true

22   sources of the conduit contributions at the 2016 Fundraiser.

23              c.    Defendant FORTENBERRY falsely stated that every

24   campaign contribution that he had received was publicly disclosed.

25   In fact, as defendant FORTENBERRY then knew, his campaign had never

26   disclosed the names of individuals who were the true sources of the

27   conduit contributions at the 2016 Fundraiser.

28

                                            10
      Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 11 of 12 Page ID #:11



1                                      COUNT THREE

2                              [18 U.S.C. § 1001(a)(2)]

3          21.   On or about July 18, 2019, in an interview affecting the

4    Federal Investigation in the Central District of California, and in a

5    matter within the jurisdiction of the executive branch of the

6    government of the United States, namely, the FBI, IRS-CI, and USAO,

7    defendant JEFFREY FORTENBERRY knowingly and willfully made the

8    following materially false statements and representations to the FBI

9    and USAO knowing that these statements and representations were

10   untrue:

11               a.   Defendant FORTENBERRY falsely stated that he had not

12   been told by Individual H during the 2018 Call that Baaklini had

13   given Individual H $30,000 cash to help fund the 2016 Fundraiser.                  In

14   fact, as defendant FORTENBERRY then knew, during the 2018 Call,

15   Individual H repeatedly told defendant FORTENBERRY that Baaklini had

16   given $30,000 in cash to Individual H in order for Individual H to

17   make contributions to defendant FORTENBERRY’s 2016 congressional

18   campaign.

19               b.   Defendant FORTENBERRY falsely stated that he was not

20   aware of any illicit donation made during the 2016 Fundraiser.                In

21   fact, as defendant FORTENBERRY then knew, during the 2018 Call,

22   ///

23   ///

24   ///

25   ///

26   ///
27
     ///
28

                                            11
      Case 2:21-cr-00491-SB Document 1 Filed 10/19/21 Page 12 of 12 Page ID #:12



1    Individual H repeatedly told defendant FORTENBERRY that Individual H

2    had arranged for and made conduit contributions to defendant

3    FORTENBERRY’s 2016 congressional campaign.

4

5
                                              A TRUE BILL
6

7

8                                                      /S/
                                              Foreperson
9

10   TRACY L. WILKISON
     Acting United States Attorney
11

12

13   SCOTT M. GARRINGER
     Assistant United States Attorney
14   Chief, Criminal Division
15   MACK E. JENKINS
     Assistant United States Attorney
16   Chief, Public Corruption and
     Civil Rights Section
17
     SUSAN S. HAR
18   Assistant United States Attorney
     Public Corruption and Civil
19   Rights Section
20

21

22

23

24

25

26

27

28

                                            12
